The Honorable Roy D. Blunt Missouri Secretary of State State Capitol Building Jefferson City, Missouri 65101
Dear Secretary Blunt:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1986. The statement which you have submitted is as follows:
         Shall Article IX, section 3(b) of the Constitution of Missouri be amended to change the minimum amount of annual state revenue required for the support of public elementary and secondary schools from one-fourth of total revenue — exclusive of interest and sinking fund — to one-third of total revenue — exclusive of federal funds, gifts and bequests, net proceeds from bond sales, and revenues from certain dedicated taxes; and, further, to clarify that revenue for supporting the public elementary and secondary schools does not include appropriations made under court order for violations of the United States Constitution?
See our Opinion Letter No. 160-91.
We approve the legal content and form of the proposed statement. Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Very truly yours,
                                  WILLIAM L. WEBSTER Attorney General